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CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that on the 13" day of August, 2009, I caused a copy of the
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